                    Case 3:97-cr-00082-CCC                Document 3328              Filed 05/19/06         Page 1 of 2
 qAO 245D        (Rev.l2103)Judgmentin a CriminalCasefor Revocations
                 SheetI



                                     UNrrBoSrarBsDrsrzucrCounr
                             FORTHE                            Districtof                             PUERTORICO
          UNITED STATESOF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                v.                                     (For Revocation ofProbation or SupervisedRelease)


      CARLOS MANGUAL-SANTIAGO                                          CaseNumber:                            (SEC)
                                                                                                       97-CR-82
                                                                       USM Number:                     17
                                                                       AFPD,JOANNIEPLAZA-MARTINEZ
                                                                       Defbndant's
                                                                                 Attomey
THE DEFENDANT:
X    admitted guilt to violation of condition(s) Special and Standard                                 ofthe term of supewision.

n    was found in violation ofcondition(s)                                          after denial ofguilt.
The defendantis adjudicatedguilty ofthese violations:


Violation Number                 Nature of Violation                                                              Violation Ended

Special Condition                Defendantshall not commit any federal, stateor local crimes.                             r0/19/0s
                                 Failure to report to U.S. ProbationOfficer that he was arrestedduring the
StandardCondition #2             months ofOctober 2005.                                                                   t0/19/05
                                 Defendantshall not frequentplaceshere controlled substancesare illegally
Standard Condition #8            sold, used, distdbuted,or administered.                                                  t0/t9/05
Special Condition                Defendantshall refrain from any unlawful use ofa controlled substance.                   10/09t05
StandardCondition #11            Defendantshall notify the probation offrcer within 72 hours ofbeing arrested.            t0/19/05


      The defendant is sentenced as provided in pages 2 through              2      of this judgment. The sentence
                                                                                                                 is imposedpusuantto
the SentencingReform Act of 1984.

E    The defendanthas not violated condition(s)                                  and is dischargedas to such violation(s) condition.

         It is ordered that the defendantm.ustnolify thr-United Statesattomey for lhis districl wirhin 30 days ofany
changeof name.-residence.     or mailing addressuntil all fines, restitution,cost;, and special assessments
                                                                                                          imDosedbithis iudsment are
tully pald. ll ordered to pay restrtuhon.the def-endantmusl notify the courl and UniaedStatesaftomey o f;nateriaf changesTr
econo[uc crcumstances.

Defendant's Soc. Sec. No.:                                             May 19,2006
                                                                       Dateof Impositionof Judgment
Defendant's Date of Birth:


                                                                       S/ SalvadorE. Casellas
                                                                       SignatureofJudge
Defendant's ResidenceAddress:



                                                                       SALVADOR E, CASELLAS, U,S, DISTRICT COURT
                                                                       Name and Title ofJudge



                                                                       MAY 19,2006
Defendanfs MailingAddress:
                Case 3:97-cr-00082-CCC                    Document 3328            Filed 05/19/06    Page 2 of 2
qAO 245D     (Rev.l2l03) Judgmentin a CriminalCasefor Revocations
             SheetI


AO 245D     (Rev.l2l03 Judgmentin a CriminalCasefor Revocations
            Sheet2- lmDrisonment

                                                                                                    - PaBe
                                                                                             Judgmenr        2     of   2
DEFENDANT:                 CARLOSMANGUAL-SANTIAGO
CASENUMBER:                97-cR-082(17)(SEC)


                                                          IMPRJSONMENT

        The defendantis hereby committed to the custody ofthe United StatesBureau ofPrisons to be imprisoned for a
totaltermof : srx (6) MONTHS, to be servedCONSECUTIVELy with the sentenceimposed
in CRIMINAL 05-401(JAF) on April 11,2006.



   I    The courtmakesthe followingrecommendations
                                                to the Bureauofprisons:




   X The defendantis remandedto the custodyofthe UnitedStatesMarshal.

   tr The defendantshallsurrenderto theUnitedStatesMarshalfor this district:
        ! a t                                !     a.m.     I   p.rn.    on
        !    as notified by the United StatesMarshal.

   fl   The defendantshall surrenderfor service of sentenceat th€ institution designatedby the Bureau ofPrisons:

        E   before2 p.m. on

        I   asnotifred by the United StatesMarshal.

        E   asnotifiedby theProbationor PretrialServicesOffrce.

                                                                RETURN
I have executedthis judgment as follows:




        Defendantdelivered on

                                                 with a certifred copy of this judgment.




                                                                                           TJNITEDSTATESMARSHAL
